870 F.2d 655Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Raymond Bradley NOTTINGHAM, Jr., Plaintiff-Appellant,v.Virgil T. FORD, Defendant-Appellee.
    No. 88-7835.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 31, 1989.Decided March 1, 1989.
    
      Raymond Bradley Nottingham, appellant pro se.
      Before DONALD RUSSELL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Raymond Bradley Nottingham, a federal prisoner, submitted his notice of appeal to prison authorities outside the 60-day period established by Fed.R.App.P. 4(a)(1).*   It was therefore untimely.   See Houston v. Lack, 56 U.S.L.W. 4728 (U.S. June 24, 1988) (No. 87-5428).  In addition, he failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).
    
    
      2
      The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      3
      DISMISSED.
    
    
      
        *
         For the purposes of this appeal, we assume that the date Nottingham placed on the request to proceed in forma pauperis attached to his notice of appeal is the earliest date that he would have submitted it to prison authorities
      
    
    